
GReen, J.
delivered the opinion of the court.
This is a petition for the division of the personal property of Willie Shaw, deceased, who died intestate.
The only question now presented for consideration is, whether John W. Shaw, one of the sons of said intestate, shall be charged with the slave Peter, as an advancement from his father.
The facts are as follows: John B. Shaw, the father of the intestate, and grandfather of John W. Shaw, was the owner of Peter; and, in his life time, told his son, the intestate, that he wished his grandson, John W. Shaw, to have Peter, and that he would give Peter to him, on condition that he would give him to his son John W. Shaw, in addition to his equal *419share of the estate. Willie Shaw promised to carry the wishes of his father into effect. These conversations occurred some years previous to the making of J. B. Shaw’s will. The negro Peter was devised to Willie Shaw in his father’s will, and he gave said slave to his son, John W. Shaw, and died intestate. Upon these facts, shall Peter be accounted for by John W. Shaw, as an advancement from his father?
It is clear that John W. SJjaw derived his title from the intestate and not from his grandfather. The conversations of John B. Shaw with the intestate, and his injunction upon him to give Peter to John W. Shaw, in addition to his equal share of the estate, conferred no right on John W. Shaw. He thereby acquired no equity which a court of chancery could have enforced against Willie Shaw, and consequently no equity to resist the claim of the complainants. He must account for Peter as an advancement.
Affirm the decree.
